289 F.3d 599
    STUDENT LOAN FUND OF IDAHO, INC., Plaintiff-Counter-Claim-Defendant-Appellee-Cross-Appellant,v.U.S. DEPARTMENT OF EDUCATION, Defendant-Appellant-Cross-Appellee,andDr. Roderick R. Paige,* in his official capacity as Secretary of the United States Department of Education, Defendant-Counter-Claimant-Plaintiff-Appellant-Cross-Appellee.
    No. 99-36035.
    No. 99-36078.
    No. 00-35310.
    No. 00-35524.
    United States Court of Appeals, Ninth Circuit.
    Argued and Submitted June 4, 2001.
    Filed December 4, 2001.
    Amended April 15, 2002.
    
      Rory R. Jones, Boise, ID, for the plaintiff-counter-claim-defendant-appellee-cross-appellant.
      Howard S. Scher, Department of Justice, Washington, D.C., for the defendant-counter-plaintiff-appellant-appellee and defendant-appellant-cross-appellee.
      Appeal from the United States District Court for the District of Idaho; Larry M. Boyle, Magistrate Judge, Presiding. D.C. No. CV-94-00413-LMB.
      Before BROWNING, WALLACE, and T.G. NELSON, Circuit Judges.
    
    ORDER
    
      1
      The slip opinion filed December 4, 2001 (272 F.3d 1155), is hereby amended as follows:
    
    
      2
      Page 16395, first paragraph, line 15 [272 F.3d at 1160], delete "The district court held, however, that the regulations were contrary to Congress's intent and that these funds from a separate, private entity should not be considered part of the federal reserve fund." and replace it with "The district court held that the Secretary's position, that all funds received by SLFI while acting as a guaranty agency relating to its operations as a guaranty agency, regardless of their origin, are federal reserve fund assets, was inconsistent with Congressional intent and the underlying purposes of the HEA and that these funds from a separate, private entity should not be considered part of the federal reserve fund."
    
    
      3
      The panel has voted to deny the petition for rehearing. Judge T.G. Nelson has voted to deny the suggestion for rehearing en banc, and Judge Browning and Judge Wallace so recommend.
    
    
      4
      The petition for rehearing and the petition for rehearing en banc are DENIED.
    
    
      
        Notes:
      
      
        *
         Dr. Roderick R. Paige is substituted for his predecessor, Richard W. Riley, as Secretary of the United States Department of Education. Fed. R.App. P. 43(c)(2)
      
    
    